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            EXHIBIT 2
   To Second Amended Complaint
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    Indictment Decision of Taiwan Taichung District Prosecutors Office
                                                    Case No: 106-Zhen-Tzu No. 11035
                                                              106-Zhen-Tzu No. 4520
                                                               106-Zhen-Tzu No. 5612
                                                               106-Zhen-Tzu No. 5613

  Defendant               JT Ho                             (Personal information

                                                            omitted)

  Attorney                Jun-Yi Jia

  Defendant               Kenny Wang

  Attorney                Ting-Lu Zhuan

                          Che-Hung Chen (terminated

                          on Feb 7, 2017)

  Defendant               Leh-Tian Rong

  Attorney                Che-Hung Chen;

                          En-Xu Huang;

                          Jia-Kun Liu (terminated on

                          June 19, 2017)

  Defendant               United Microelectronics

                          Corporation

  Legal Representative    Stan Hung

  Attorney                En-Xu Huang;

                          Mei-Fen Hung


 Regarding the above defendants’ violation of the Trade Secret Act , the investigation
 has been closed and the prosecutor has decided to indict the defendants.   The
 prosecutor hereby describes the facts of the



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 committed crime and presents the evidence as well as the violated laws as follows:

 Facts of the Committed Crime
 I.   JT Ho and Kenny Wang were the employees of Rexchip Electronics Corp.,
      located at No. 369, Sec.4, San Feng Rd., Houli District, Central Taiwan Science
      Park, Taichung (“Rexchip”). Rexchip was jointly formed by Elpida Memory,
      Inc. of Japan (“Elpida Japan”) and Powerchip Technology Corporation
      (“Powerchip”) to conduct business as a DRAM foundry. Micron Technology,
      Inc. (“MTI”) has its headquarters at Boise, Idaho of the USA. MTI’s main
      business includes manufacture and sale of DRAM, NAND flash and NOR flash,
      and assembly resolutions and semiconductor systems.    In 2013, MTI acquired
      most of Elpida Japan’s and Rexchip’s shares and renamed Elpida Japan to Micron
      Memory Japan, and Rexchip to Micron Memory Taiwan Co., Ltd. (“MMT”). JT
      Ho and Kenny Wang became the employees of MMT as a result of the
      acquisition. On September 2, 2011, MTI authorized Micron Semiconductor
      Asia to use its IP rights. MMT made information relating to the method,
      technology, process and design for manufacturing DRAM into copyrighted
      works in the form of words, symbols and graphics. This information is saved on
      MMT’s server with encryption and limited access: MMT’s employees need to log
      onto the server by entering user names and passwords before accessing the
      abovementioned electronic records. In addition, access by USB PORT (a port
      connecting computers and external storage devices) has been banned since April
      20, 2016. The abovementioned electronic records are information not known to
      the industry and highly economically valuable with reasonable protection, and
      they constitute “trade secrets” under Article 2 of the Trade Secret Act. On
      February 28, 2014, MMT entered into the MTI/MMT Design Engineering
      Services Agreement with MTI and transferred to MTI the IP rights it had
      obtained before and during the period covered by the Agreement. On the same
      date, MMT obtained the right to continuously use MTI’s IP rights from Micron
      Semiconductor Asia.

 II. United Microelectronics Corporation (“UMC”) was the first company in Taiwan
     to provide integrated circuit (IC) wafer foundry OEM service. It used to
      conduct DRAM development and manufacturing, but then it closed the DRAM
      manufacturing business and transferred relevant technical employees to other
      departments of UMC. In January 2016, UMC entered into an agreement with
      Fujian Jinhua Integrated Circuit Co., Ltd. of Mainland China (“Jinhua”) to
      develop 32nm DRAM and 32Snm DRAM technologies. Under the agreement,
      Jinhua will provide US$300 million for purchasing necessary equipment for the
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     DRAM development and will pay US$400 million to UMC based on the progress
     of development. The results of development shall be jointly owned by both
     parties. After the development is completed, the technology will be transferred
     to Jinhua for mass production of 32nm DRAM and 32Snm DRAM. To carry
     out the abovementioned agreement, UMC established the New Business
     Development (“NBD”) at the Second Factory Area of its Fab 12A in Tainan
     Science Park in January 2016. Zheng-Kun Chen (Stephen Chen, Former
     chairman of MMT, who left MMT on July 31, 2015 and joined UMC as senior
     VP in September 2015) was in charge of NBD, and UMC established several
     departments under NBD named “Project Technology Management Department 1”
     (“PM1”), “Project Technology Management Department 2” (“PM2”) and
     “Project Technology Management Department 3” (“PM3”). Stephen Chen then
     recruited people from MMT, including JT Ho and Kenny Wang, and appointed
     Leh-Tian Rong to head PM2 as Assistant Vice President. Under PM2 there are
     Process Integration Unit 1 (“PI1”), Process Integration Unit 2 (“PI2”), Defect
     Analysis Management Unit (“DM”) and Device Unit (“Device”). UMC filed an
     application for approval of the above technology cooperation with the Investment
     Commission of the Department of Economics on March 11, 2016, and the
     Commission approved the application on April 14, 2016 per the approval letter of
     Jin-Shen-Er No. 10500055030. Subsequently, UMC, Jinhua and Ultra Memory
     Inc. of Japan (“UMI Japan”) signed the “F32nm Design Service Agreement” on
     November 8, 2016. Because semiconductor manufacture process is a
     professional, sophisticated and complex technology which is often affected by
     different manufacturing equipment and methods, it is necessary to have a set of
     rules in place to define the relevant electrical parameters when considering how
     to manufacture the products successfully. Thus, the parties agreed that, after the
     DRAM design rules (also called the Layout Rule) were converted into source
     code, UMI Japan shall be responsible for revising the design rules, giving
     feedback, executing the program and designing and manufacturing the chips, and
     Jinhua will pay the design and service fees of US$3,783,000 to UMI Japan in 3
     installments. After UMI Japan has completed testing and delivered the GDS
     files (TV0 and TV1) and DDR4 chip of TV1, it will transfer the entire 32/32S nm
     DRAM development technology to Jinhua for Jinhua’s mass production.
     However, to conduct business for UMC, UMC’s employees, namely JT Ho,
     Kenny Wang and Leh-Tian Rong, committed the following crimes.

 III. On February 24, 2014, JT Ho signed the Employment Agreement and the
     “Confidentiality and Intellectual Property Agreement” (“CIPA”) with MMT.

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      Under the CIPA, JT Ho shall, upon the termination of his employment with
      MMT, leave with MMT all documents, records, notebooks or other repositories
      containing confidential information (including trade secrets), including copies
      thereof and information maintained in hardcopies and electronic form then in his
      possession or control; if JT Ho has any confidential information on non-MMT
      property, he shall immediately return such confidential information to MMT and
      destroy any copies in his possession or control. Because of his position as the
      section chief of MMT’s mass production department, JT Ho logged into the
      company’s controlled server to access electronic records relating to the DRAM
      production process, which is MTI’s trade secret (“Electronic Record A”).     He
      copied the records to his own USB (item 36 in Confiscated-Property Storage in
      Table 6) and personal hard drive (item shown in Table 7) for his reference any
      time during work, and possessed the hardcopy documents containing MTI’s trade
      secrets (Paper Documents nos. 2, 3, 4, 5, 6, 7, 8, 10, 11, 12, 13 and 14 of item 35
      in Confiscated-Property Storage in Table 6 and documents named ECD-DPB-
      1076 and ECD-DPB-1111 in File 15, collectively referred to as “Paper
      Documents B.”) Subsequently on October 15, 2015 when JT Ho resigned from
      MMT, he did not destroy Electronic Record A and Paper Documents B in
      accordance with the agreements. JT Ho joined UMC in November 2015 and
      became the Process Integration1 Manager under PM2 in April 2016. In January
      2016, JT Ho was aware that UMC started to carry out the cooperation project
      with Jinhua and became MTI’s competitor, and he was aware that the Electronic
      Record A and the Paper Document B he possessed could contribute to UMC’s
      and Jinhua’s mass production of DRAM in Mainland China. Instead of deleting
      or destroying Electronic Record A and Paper Documents B, JT Ho reviewed
      Electronic Record A using his UMC issued laptop (Item No. 34 of Confiscated-
      Property Storage in Table 6), with USB PORT control removed, in his UMC
      staff dormitory (Rm 657, No. 63 Dashun 6th Rd, Xinshi Dist., Tainan City), and
      in his UMC office in the Second Factory Area of UMC’s Fab 12A (57 Nanke 3rd
      Rd, Xinshi Dist., Tainan City) during the period from January 2016 to February
      7, 2017 (the date when [Prosecutors] conducted the search). During this period,
      he also brought Paper Documents B to the PI1 office for use. JT Ho’s access to
      Electronic Record A and Paper Documents B exceeded MMT’s authorized scope
      of use for such information, and he intended to use the information in Mainland
      China contrary to MTI’s interest.

IV.   Kenny Wang’s last position at MMT was Product Quality Integration Manager,
      which gave him the right to access information relating to all final products to

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     ensure that the final DRAM products met client specifications and quality
     requirements. In January and February 2016, Kenny Wang contacted JT Ho,
     who was then working at NBD of UMC, through the communication application
     LINE, and became aware that UMC was looking device specialists for its DRAM
     project with Jinhua. After further discussion, Kenny Wang decided to join
     UMC and submitted his resume to UMC through JT Ho. Consequently, at the
     end of February 2016, Kenny Wang visited UMC and was interviewed by UMC’s
     HR team leader and Leh-Tian Rong. UMC and Kenny Wang agreed that Kenny
     Wang would be hired with the same salary and benefits as he had at MMT but
     that, if he is relocated to Mainland China, he will sign another contract with
     Jinhua and be entitled to an additional bonus. Subsequently on March 25, 2016,
     Kenny Wang received an Offer Letter from UMC, and informed JT Ho through
     the LINE communication application. JT Ho thus started treating Kenny Wang
     as a team member of UMC and discussed through the LINE communication
     application the issues that UMC had in developing DRAM technologies. Kenny
     Wang submitted his resignation letter to MMT on April 5, 2016 and left the
     company on April 26, 2016 upon the company’s approval. From April 16 to 23,
     2017, being fully aware that MTI and UMC are competitors in the development
     and manufacturing of DRAM and with the intent to use the information in
     Mainland China and to damage MTI’s interest, Kenny Wang abused his
     authorization as the Product Quality Integration Manager by using MMT’s laptop
     (Staff number: 1132954, User name: KENNYW, items shown in Table 1) to log
     on to MMT’s server and to access MTI’s electronic information relating to the
     method, technology, process and design of DRAM (“Electronic Record C,”
     including a total of 931 files), which are protected trade secrets and copyrighted
     works. He stored Electronic Record C onto the abovementioned laptop,
     transferred it to a USB storage device (Item 3 in Confiscated-Property Storage of
     Table 3), and then to two of his own laptops (Table 2 and item No. 6 in Table 3 of
     the Confiscated-Property Storage) and also uploaded it to his Google Drive
     (account number: brh5476@gmail.com).. Kenny Wang’s unauthorized copying
     of Electronic Record C violated MTI’s and MMT’s control over the records, and
     infringed MTI’s trade-secret right and copyright in the records.

 V. After joining UMC on April 28, 2016, as Device Technology Manager of PM2,
    with the abovementioned intent and also the criminal intent to reproduce
    another’s works, Kenny Wang used his phone (number: 0911-834291, i.e. Item
     No. 17 of the Confiscated-Property Storage in Table 5) and the laptop issued by
     UMC (i.e. Item No. 18 of the Confiscated-Property Storage in Table 5) to access

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    Electronic Record C stored on Google Drive (account number:
    brh5476@gmail.com) and downloaded MMT’s “DRAM design rules” (file name:
    [DR25nmS] Temporary design rules Periphery Rev. 6; location path:
    V90B/0.Design/Design rules, hereafter “DR25nmS Design rules”) and other
    electronic records. Kenny Wang then printed out the above electronic records
    (i.e. Paper documents No. C-1-2 in Table 4 and Item No. 22 of the Confiscated-
    Property Storage in Table 6, collectively referred to as “Paper Documents D”),
    thereby infringing MTI’s copyright. Subsequently one day in July or August
    2016, when attending the PM2 morning meeting held by Leh-Tian Rong, Kenny
    Wang was asked to stay in the meeting room with Ming-De Wei (the manager of
    PI2) after the meeting and discuss the draft of the F32 DRAM design rules
    presented by Wei. Because UMC has specialized as a logic process foundry in
    the past and has no DRAM-related designer’s manual, PI2 had to use a 65nm
    logic process designer’s manual as its blueprint. The abovementioned draft
    therefore lacked the necessary parameters of “Cell,” “Array” and “Periphery” in
    the DRAM design rules. Kenny Wang thus provided his comments on ion-
    implantation process parameters (a key process to control doping in
    semiconductor manufacturing). Leh-Tian Rong, albeit fully aware that Kenny
    Wang left MMT nearly six months previously and that the MMT information
    Kenny Wang possessed was likely obtained illegally, asked Kenny Wang to
    compare the F32 DRAM design rules of UMC with MMT’s materials (i.e. the
    DR25nmS design rules), circle out the differences between the two, write down
    MTI’s “stabilization data” on UMC’s draft design rules, fill in necessary
    parameters relating to ion-implantation which cannot be obtained through reverse
    engineering, and help complete the parts including “Cell”, “Array”, and
    “Periphery” for Rong’s review, so that UMC can complete the F32 DRAM design
    rules more quickly. Two to three days after Kenny Wang received the said
    instructions from Rong, he downloaded UMC’s final version of the logic IC
    design rules, created columns for “Cell,” “Array” and “Periphery” and filled in
    parameters for “width” and “space” on more than 10 pages of UMC’s final
    version of the design rules, using the DR25nmS design rules as a reference.
    Kenny Wang quickly completed the addition and revision of the parameters and
    handed in the hard copies containing the parameters of the DR25nmS design
    rules to Leh-Tian Rong in person. Rong handed them to Wei and told Wei to
    discuss them with Kenny Wang. Wei, unaware of the foregoing, discussed the
    stability of the parameters of UMC’s F32 DRAM design and other parameters
    with Kenny Wang and Wu Kuo-How, an engineer of PI2, and completed UMC’s
    F32 DRAM design rules. Originally UMC had no mask tape out team or ion-
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     implantation specialists. After Kenny Wang provided the DR25nmS design
     rules production parameters, PI2 skipped processes such as the optical
     lithography adjustment, etching and yellow light processes when developing the
     F32 DRAM. The design rules were completed within only 2 months and
     handed to the chip design manufacturer for the next step. Kenny Wang was
     promoted to Device Manager in January 2017 for excellent performance in
     reducing the time, costs, equipment and labor in producing the design rules.

 VI. After Kenny Wang left, MMT through its internal investigation suspected that
     Kenny Wang had copied Electronic Record C without authorization. MTI and
     MMT thus filed a criminal complaint with MJIB New Taipei Branch and
     provided the laptop (as in Table 1) to MJIB for its custody. After receiving the
     complaint, the prosecutor of this Office filed an application to monitor Kenny
     Wang’s phone (Number: 0911-834291) with the Taichung District Court, which
     was approved. After the grant of the search warrant by the Taichung District
     Court, the prosecutor led the investigation officers of MJIB New Taipei Branch to
     search the places as shown in Tables 2 to 5 simultaneously and seized the items
     as shown in Tables 2 to 5 on February 7, 2017. At around 14:10 on February 7,
     2017, the MJIB officers arrived at the Second Factory Area of UMC’s Fab 12A
     (address: No.57, Nan-Ke-San Rd., Xin-Shi District, Tainan) to conduct searches.
     When the officers were heading to PM2 accompanied by UMC’s Security Team
     Manager Ching-Yuan Chiu and others, UMC’s HR team informed Leh-Tian Rong
     that the MJIB officers were about to search Kenny Wang’s work area. Rong
     immediately asked Kenny Wang and JT Ho respectively to delete and remove all
     the information relating to MMT. Following Rong’s instructions, Kenny Wang
     and JT Ho handed the items listed in Table 6 to Shu-Han Huang, an assistant
     engineer of PM2, for her custody (Huang was subject to deferred indictment due
     to her violation of Article 165 of Criminal Code). Huang locked the items in her
     personal locker and left the office with Kenny Wang’s phone (Number: 0911-
     834291). As a result, when the MJIB officers searched Kenny Wang’s
     workplace, they only found his UMC issued phone (Number: 0965-702303); his
     personal phone under surveillance (Number: 0911-834291) was missing. When
     questioned, Kenny Wang claimed that Shu-Han Huang borrowed the phone in the
     morning because she wanted to see some photos. After the supervisors of UMC
     were asked to contact Huang demanding that she return to the office immediately,
     Huang came back to the office and handed over Kenny Wang’s personal phone
     (Number: 0911-834291) to MJIB officers for their custody at 15:25 on February
     7, 2016 (sic) [2017].

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 VII. After being questioned by the prosecutor as a witness, JT Ho submitted the items
      listed in Table 7 for MJIB officers’ custody on February 8, 2017. Shu-Han
      Huang also spontaneously submitted the items listed in Table 6 for the
      prosecutors’ custody on February 9, 2017. On February 7 and 8, 2017, when
      Kenny Wang was questioned by the MJIB officers and the prosecutor, he
      confessed to the facts stated in Section 5 above. Based on the above evidence,
      the prosecutor obtained another search warrant from the Taichung District Court
      and led officers of the MJIB New Taipei Branch to search the places listed in
      Tables 8 and 9, seizing the items listed in Tables 8 and 9 on February 14, 2017.
      The prosecutor and the MJIB officers further searched the places listed in Table
      10 with Leh-Tian Rong’s consent and seized the items listed in Table 10.

 VIII. MMT and MTI filed the criminal complaint (please see Table 12 for the attorney
     authorization and the defendants to be named); UMC also filed a report of the
      crime (please see Table 13 for the attorney authorization and the defendant to be
      named). The MJIB New Taipei Branch officers investigated the case under the
      supervision of the prosecutor of this Office, and sent the case to this Office for
      further handling.

 Evidence and Statutes Violated
 I.   The evidence serving as the basis for Criminal Findings:

 (I) Testimonial evidence:

 1. Defendant JT Ho’s testimony when questioned by MJIB officers on February 14,
    2017 (pages 2-54 in File C); his testimony when questioned by the prosecutor on
    February 15 and June 9, 2017 (pages 78-87 in File C, pages 87-91 in File A4);

 2. Defendant Kenny Wang’s testimony when questioned by MJIB officers on
    February 7 and 14, 2017 (pages 4-27, 115-135 in File B); his testimony both
      before and after being placed under oath when questioned by the prosecutor on
      February 8 and 15, 2017 (pages 92-107, 243-252 in File B); and his testimony
      when questioned by the prosecutor on June 9, 2017 (pages 92-107 and 243-252 in
      File B, and pages 83-91 in File A4);

 3. Defendant Leh-Tian Rong’s testimony when questioned by MJIB officers on
      February 14, 2017 (pages 5-25 in File D); his testimony when questioned by the
      prosecutor on February 15 and June 15, 2017 (pages 41-55, 115-125 in File D);

 4. The statements of Jia-Kun Liu, Esq. (i.e. Defendant UMC’s lawyer) when
    questioned by MJIB on March 14, 2017 (pages 14-24 in File A5);

 5. Co-Defendant Shu-Han Huang’s testimony when questioned by MJIB officers on
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    February 7, 2017 (pages 5-12 in File E); her testimony when questioned by the
    prosecutor on February 8-9 and June 15, 2017 (pages 73-75 in File E);

 6. Complainant MMT’s legal manager Siesen Chen’s statements when questioned by
    MJIB officers on August 18 and September 1, 2016 (pages 132-147 in File A1);
    his testimony as a witness when questioned by the prosecutor on February 13,
    2017 (pages 186-187 in File A2);

 7. The testimony of Witness David Alford Ashmore (MTI’s general counsel) when
    questioned by MJIB officers on September 1 and December 14, 2016 (pages 149-
    154, 316-321 in File A1);

 8. The testimony of Witness J. R. Tietsort (MTI’s IT security department personnel)
    when questioned by MJIB officers on September 1, 2016 (pages 155-163 in File
    A1);

 9. The testimony from Witness Lucient Jan (MTI’s engineer) when questioned by
    MJIB officers on November 22, 2016 and February 16, 2017 (pages 267-274 in
    File A1, pages 331-336 in File A2);

 10. Defendant JT Ho’s testimony as witness when questioned by MJIB officers on
     February 7, 2017 (pages 341-353 in File A1); and his testimony as witness when
    questioned by the prosecutor on February 8, 2017 (pages 357-365 in File A1);

 11. The testimony from Witness Sandy Kuo (UMC’s project manager in the Southern
     Taiwan Science Park) when questioned by MJIB officers on February 8, 2017
     (pages 368-378 in File A1); and her testimony when questioned by the prosecutor
     on February 8, 2017 (pages 383-385 in File A1);

 12. The testimony of Witness Stephen Chen (UMC’s senior VP) when questioned by
     MJIB officers on February 8, 2017 (pages 387-393 in File A1); and his testimony
     when questioned by the prosecutor on February 8, 2017 (pages 396-401 in File
    A1);

 13. The testimony of Witness Bo-Chang Hung (MMT’s process-integration
     department manager) when questioned by MJIB investigator on February 7, 2017
     (pages 1-7 in File A2);

 14. The testimony of Witness Wen-How Hsieh (MMT’s process-integration
    department section manager) when questioned by MJIB officers on February 7,
    2017 (pages 11-19 in File A2);

 15. The testimony of Witness Shiu-Jan Lin (MMT’s process-integration department
    engineer) when questioned by MJIB officers on February 7, 2017 (pages 74-82 in

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    File A2);

 16. The testimony of Witness Yi-Ling Chen (MMT’s real-time defect-analysis
     department manager) when questioned by MJIB investigator on February 7 and
    February 13, 2017 (pages 85-93, 118-124 in File A2); the testimony when
    questioned by the prosecutor on February 13 and May 25, 2017 (pages 182-187,
    page 383-387 in File A2);

 17. The testimony of Witness Hung-Yi Lin (MMT’s PROVER department function
     section engineer) when questioned by MJIB officers on February 7, 2017 (pages
    95-101 in File A2);

 18. The testimony of Witness Ding-Lu Yu (chairman of Applied Materials Taiwan)
    when questioned by MJIB officers on February 7, 2017 (pages 103-107 in File
    A2);

 19. The testimony of Witness Chi- Lun Wang (Chief Director of Techinsights Taiwan)
     when questioned by MJIB officers on February 13, 2017 (pages 108-111 in File
     A2); and his testimony when questioned by the prosecutor on February 13, 2017
     (pages 113-116 in File A2);

 20. The testimony of Witness Kuo-How Wu (UMC’s process-integration engineer)
    when questioned by MJIB officers on February 14, 2017 (pages 230-241 in File
    A2); and his testimony when questioned by the prosecutor on February 15, 2017
    (pages 314-319 in File A2);
 21. The testimony of Witness Ming-De Wei (second manager of UMC’s process-
     integration department) when questioned by MJIB officers on February 14, 2017
     (pages 248-264 in File A2); and his testimony when questioned by the prosecutor
     February 15, 2017 (pages 320-326 in File A2).

 (II) Non-testimonial evidence:

 1. MMT’s corporate registration records (page 17 in File A1);

 2. MMT’s standard confidentiality and IP agreement (pages 18-26 in File A1);

 3. “The Maintenance of Confidential Information” in MMT’s “Team Member
    Manual” (pages 32-36 in File A1);

 4. MMT’s work rules (page 37-41 in File A1);

 5. The USB control measure for personal computers issued by MMT on April 20,
    2016 (pages 54-56 in File A1);

 6. The warning language that would appear while MMT’s employees access to the

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    electronic records containing trade secrets in the computer server (page 57 in File
    A1);

 7. Defendant Kenny Wang’s resignation letter submitted to MMT on April 5, 2016
    (pages 73-74 in File A1);

 8. Defendant Kenny Wang’s attendance and entrance records in MMT from March
    20 to April 26, 2016 (page 78-81 in File A1);

 9. Defendant Kenny Wang’s file-transfer records in the laptop he used shown in
    Table 1 (pages 83-97 in File A1);

 10. The Employment Agreement cum Confidentiality and Intellectual Property
     Agreement between Defendant Kenny Wang and MMT signed on February 26,
     2014 (pages 104-120 in File A1);

 11. Defendant Kenny Wang’s training records during his service at MMT (pages 122-
     126 in File A1);

 12. Defendant Kenny Wang’s resignation agreement on April 26, 2016 (pages127-131
     in File A1);

 13. MTI’s written explanation of the importance of the electronic records that
    Defendant Kenny Wang illegally obtained (pages 186-198 in File A1, pages 325-
    492 in File A3);

 14. MTI/MMT Design Engineering Service Agreement on February 28, 2014 (pages
     206-216 in File A1); MSA/MTI Front-end Manufacturing Supply Agreement on
     September 2, 2011 (pages 217-231 in File A1); Foundry Agreement between
     Micron Singapore and MMT on February 28, 2014 (pages 233-252 in File A1);

 15. MTI’s analysis report of the laptop used by Defendant Kenny Wang shown in
     Table 1 (pages 511-528 in File A1);

 16. Defendants Kenny Wang and JT Ho’s labor-insurance records (pages 536-537 in
     File A3);

 17. Forensic report attached in MJIB’s 2016-10-05 Letter Diao-Zi-Wu-Zi No.
    10514003270 (pages 543-544 in File A3);

 18. Forensic report attached in MJIB’s 2017-02-23 Letter Diao-Zi-Wu-Zi No.
     10614505100 (pages 570-573 in File A3);

 19. The file list of the cloud drive used by Defendant Kenny Wang (pages 576-678 in
     File A3);

 20. The complete file of UMC’s investment application for UMC’s cooperation
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    project with Jinhua provided by the Investment Commission (pages 682-725 in
    File A3);

 21. Defendant Kenny Wang’s chat history in Line communication application (pages
    790-912 in File A3);

 22. MMT’s letter to Defendant JT Ho on April 19, 2016 (pages 191-192 in File A2);

 23. The Employment Agreement cum Confidentiality and Intellectual Property
    Agreement between Defendant JT Ho and MMT signed on February 24, 2014
    (pages 193-200, 210-218 in File A2);

 24. Photocopy of Defendant JT Ho’s personnel data card kept by MMT (page 203 in
     File A2);

 25. The employment agreement between Rexchip and Defendant JT Ho (pages 204-
     206 in File A2);

 26. MJIB’s on-site report on the search over Defendant Kenny Wang’s office on
     February 7, 2017 (pages 16-17 in File E);

 27. The seizure record in Table 1 (pages 176-178.1 in File A1), the search and seizure
     record in Table 2 (pages 31-34 in File F1), the search and seizure record in Table 3
    (pages 47-49 in File F1), the search and seizure record in Table 4 (pages 24-26 in
    File F1), the search and seizure record in Table 5 (pages 30-33 in File F2), the
    seizure record in Table 6 (pages 67-68 in File E), the seizure record in Table 7
    (pages 96-99 in File C), the search and seizure record in Table 8 (pages 26-29 in
    File F4), the search and seizure record in Table 9 (pages 23-27 in File F3), and the
    search and seizure record in Table 10 (pages 28-31 in File F3);

 28. Photos of articles seized (pages 53-75 in File A4);
 29. Articles seized listed in Tables 1 to 10.

 II. Determination for the case:

 (I) Whether an offence constitutes direct harm should be decided by whether the
     criminal conduct has directly led to infringement upon a legal interest. When
     more than one legal interest simultaneously exist in one object and are directly
     infringed by the criminal conduct, the right holders of both legal interests are the
     direct victims, and it does not matter if there are other direct victims. See
     Supreme Court precedent Year 1941 Shang-Zi 3416. Defendants JT Ho and
     Kenny Wang are suspected to have infringed the information regarding the
     methods, technology, process, and design of manufacturing DRAM wafers,
     which has been licensed to MMT by MTI through Micron Semiconductor Asia.
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     The said information is stored in the form of electronic records in MMT’s
     computer server which is protected by confidential protection measures, and
     constitutes the Work under Article 3(1)(1) of the Copyright Act, and the Trade
     Secret under Article 2 of the Trade Secrets Act. To elaborate, MTI is the owner
     of said electronic records, and MMT is the quasi-possessor of said electronic
     records (please refer to Article 966(1) of the Civil Code). Therefore, both MTI
     and MMT are entitled to file a criminal complaint for the facts of the crime
     relating to infringement of electronic records. As to UMC, it filed a “criminal
     complaint” on February 23, 2017 accusing Defendant Kenny Wang of concealing
     the facts of his illegal use of MMT’s trade secrets from UMC while working for
     UMC. However, since UMC is neither the owner nor the quasi-possessor of
     said electronic records, the “criminal complaint” UMC submitted can only be
     deemed as reporting the criminal conduct.

 (II) The Copyright Act and the Trade Secrets Act protect “information”. Such
      information is valuable and is a kind of property like other tangible goods.
      Obtaining such information without the owner’s consent would constitute
      infringement upon the owner’s interest in information property. In addition,
      “electronic record” mentioned under Article 10(6) of the Criminal Code is defined
     as records made through the use of electronic, magnetic, optical or other similar
     means for computer processing. An electronic record is intangible property, and
     its characteristics include that it is inalienable, inexhaustible and ubiquitous once
     disclosed. If the information protected under the Copyright Act and the Trade
     Secrets Act is obtained or possessed without the owner’s consent, the owner loses
     its control of such trade secret and copyrighted work. And it would definitely
     impair the owner’s exclusive use of the information and the monopoly value of the
     trade secret, hence constituting infringement of a property interest. After
     Defendant JT Ho and Kenny Wang commenced work for MTI’s competitor, i.e.
     UMC, they still possessed MTI’s trade secrets without justification. Such trade
     secrets allowed UMC to solve problems when developing DRAM products, and
     the methods, technologies, processes, and designs developed by UMC would be
     eventually transferred to Jinhua in Mainland China. Besides, without referring to
     any physical documents and electronic records and conducting a verification
     process, it would be almost impossible for an engineer to provide UMC with
     parameters like “Cell”, “Array” and “Periphery” in the F32 DRAM design rules
     merely based on memory or experience. Such can be supported by Witness
     Lucient Jan’s testimony while answering MJIB officer’s questions on February 16,
     2017. Therefore, when Defendant Leh-Tian Rong requested on a certain day in
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     July or August 2016 that Defendant Kenny Wang (who worked in the Device
     Department) provide the parameters of design rules to Ming-De Wei, Defendant
     Leh-Tian Rong subjectively should have known that the information possessed by
     Defendant Kenny Wang was illegally obtained from MMT. This point can also
     be proved by the fact that before MJIB officers searched UMC’s PM2 department
     on February 7, 2017, Defendant Leh-Tian Rong instructed Defendants Kenny
     Wang and JT Ho to dispose of the MMT information in their possession.
     Defendants Kenny Wang and JT Ho argued that the documents and electronic
     records and paper documents listed in the Criminal Facts column were for their
     personal research.     Defendant Leh-Tian Rong argued that he only asked his
     subordinate (i.e. Defendant Kenny Wang) to comment on the draft F32 DRAM
     design rules enacted by UMC. None of their arguments is credible. Defendants
     Kenny Wang, JT Ho and Leh-Tian Rong did have the intent to infringe upon MTI’s
     interest and use MTI’s trade secrets in Mainland China.

 (III) A provision of Article 13-4 of the Trade Secrets Act requires that “the
       representative of a juristic person or natural person has made his/her best efforts
       to prevent a crime from being committed”, which means the person has made
       sincere efforts to “actively” prevent wrong doings, and its efforts would
     reasonably prevent the unwanted result. In this case, in order to prove that the
     three Defendants had promised that they would not disclose their former
     employer’s confidential information to UMC, and that they had taken the IP
     education courses provided by UMC to prevent another company’s trade secrets
     from being brought into UMC, Defendant UMC submitted the photocopies of
     employment agreements and training materials of Defendants Kenny Wang, JT
     Ho and Leh-Tian Rong during their employment with UMC. UMC further
     stated that UMC prohibited use of USBs and that laptops issued by the company
     cannot connect with the company’s intranet. However, after search and seizure,
     the prosecutor found out that the above-mentioned electronic records and paper
     documents obtained by Kenny Wang and JT Ho from MMT were kept in UMC’s
     PI2 office. In addition, Kenny Wang and JT Ho had continuously used and took
     said information as reference after resigning from UMC. This shows that apart
     from executing standard employment agreements with JT Ho, Kenny Wang, and
     Leh-Tian Rong and conducting regular orientation training, Defendant UMC has
     not adopted any positive measures to prevent the Defendants from infringing
     upon other companies’ trade secrets after joining UMC (for example, UMC could
     periodically audit the information assets in places under its control). Therefore,
     Defendant UMC’s argument cannot be adopted.
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 III. Laws violated

 (I) Defendant JT Ho possessed MTI’s trade secrets with the intention to use the trade
     secrets in Mainland China and to damage Complainant MTI’s interests. Having
     failed to delete and destroy such trade secrets upon MTI’s request, JT Ho
     exceeded the authorization and used such trade secrets. Ho has thus committed
     the crime prohibited in Article 13-2(1) of the Trade Secrets Act, i.e. violating
     Subparagraphs 2 and 3 of Paragraph 1 of Article 13-1 with the intent to use in
     Mainland China. As Defendant JT Ho continuously committed the crime with a
     single criminal intent, he shall be deemed as committing one crime.
     Complainant’s attorney Jeanne Wang Esq. stated in the investigation hearing on
     February 13, 2017 that JT Ho’s misconduct also constituted the crime prohibited
     under Article 359 of the Criminal Code, i.e. retrieving another’s electronic
     records without justification and causing harm. However, Witness Yi-Ling
     Chen testified in the same hearing that MMT did not prohibit an engineer from
     storing company files in USB drive. Therefore, there is no positive evidence to
     support the finding that JT Ho obtained the company’s electronic records
     “without justification” while working for MMT.

 (II) Defendant Kenny Wang reproduced and obtained the trade secrets by illegal
      means with the intent to use the trade secrets in Mainland China and to damage
      Complainant MTI’s interests. He further used and disclosed such trade secrets
      after obtaining the same. He also infringed MTI’s copyright. He thus has
     committed the crime prohibited Paragraph 1 of Article 13-2 of the Trade Secrets
     Act, i.e. violating Subparagraphs 2 and 3 of Paragraph 1 of Article 13-1 with the
     intent to use in Mainland China, and also the crime prohibited under Paragraph 1
     of Article 91 of the Copyright Act. As Defendant Kenny Wang committed the
     above crimes with a single criminal intent and single continuous misconduct, he
     shall be punished for the crime with the harsher penalties, which is the crime of
     Paragraph 1 of Article 13-2 of the Trade Secrets Act. Complainants MTI and
     MMT also asserted that Defendant Kenney Wang has committed the crime
     prohibited under Article 317 (disclosing industrial and commercial secrets
     acquired in the course of business), Article 318-1 (disclosing secret know-how
     via computer), Paragraph 1 of Article 342 (critical breach of trust), and Article
     359 (obtaining another’s electronic records without justification and causing
     harm) of the Criminal Code. However, Articles 13-1 to 13-4 of the Trade Secret
     Act were newly enacted on January 31, 2013, and the legislative reason is that
     Articles 317, 318-1, 318-2, 342, 359 are insufficient to protect trade secrets
     (please refer to the related legislation documents of the 14th meeting of the second
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     session of the 8th Legislative Yuan). Therefore, the articles in the Trade Secret
     Act shall take priority over those articles in the Criminal Code. Based on the
     principle that special laws should take priority over general laws, the Trade Secret
     Act shall be applied. In addition, Defendant Kenny Wang made critical
     statements related to the case while being interrogated, which led the prosecutor
     to be able to indict Co-Defendant Leh-Tian Rong for the crime described in Item
     5 of the Criminal Facts Section. With the prosecutor’s advanced consent, please
     reduce or waive Defendant Kenny Wang’s punishment for committing the crime
     under Paragraph 1 of Article 13-2 of the Trade Secrets Act pursuant to Article
     14(1) of the Witness Protection Act.

 (III) Defendant Leh-Tian Rong intended to use the trade secrets in Mainland China
       and damage the complainant MTI’s interests. Although he knew that the trade
     secrets possessed by Defendant Kenny Wang were illegally obtained, he still used
     said trade secrets. Defendant Leh-Tian Rong committed the crime prohibited
     under Paragraph 1 of Article 13-2 of the Trade Secrets Act, i.e. violating
     Subparagraph 4 of Paragraph 1 of Article 13-1 of the Trade Secrets Act with the
     intent to use in Mainland China.

 (IV) Because Defendant UMC’s employees, i.e. JT Ho, Kenny Wang and Leh-Tian
      Rong committed the crime prohibited under Article 13-2(1) of the Trade Secrets
      Act in the course of performing their job duties, please punish by imposing on
      Defendant UMC the criminal fine mentioned under Article 13-2(1) of the Trade
     Secrets Act pursuant to the former part of Article 13-4 of the Trade Secrets Act.

 IV. Confiscation:

     Please confiscate the Electronic Record A and Paper Document B illegally
     obtained by Defendant JT Ho and the Electronic Record C and Paper Document
     D illegally obtained by Defendant Kenny Wang pursuant to the former part of
     Article 38-1(1) of the Criminal Code. Pursuant to Article 38(2) of the Criminal
     Code, please confiscate the articles listed in Table 2, Items 3 & 6 of the
     Confiscated-Property Storage in Table 3, Item 16 of the Confiscated-Property
     Storage in Table 5, and Item 20 of the Confiscated-Property Storage in Table 6,
     which were articles owned and used by Defendant Kenny Wang for committing
     the crime. Pursuant to Article 38(2) of the Criminal Code, please confiscate the
     articles listed in Item 36 of the Confiscated-Property Storage in Table 6 and items
     shown in Table 7, which were articles owned and used by Defendant JT Ho for
     committing the crime.

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 V. The prosecutor hereby indicts the Defendants in accordance with Article 251(1)
    of the Code of Criminal Procedures.


 Respectfully submitted to Taiwan Taichung District Court

 August 8, 2017
 The Prosecutor: Li-Wei Chen
 August 31, 2017
 Clerk˖Yi-Qing Chen (Signature: Yi-Qing Chen)

  Table 1
  Date of action: September 29, 2016
  Place of action: Investigation Bureau, Taipei city
  Subject of action: Micron Memory Taiwan Co., Ltd
  Basis of action: Article 133(3) of the Criminal Code
  Item no. Item no. of        Name of seized item          Quantity    Remark
  of          Confiscated-
  seized      Property
  record      Storage
     A-1            1         Laptop computer used by        1 unit    This is the computer used by
                              Kenny Wang                               Kenny Wang during his
                                                                       service in MTI


  Table 2
  Date of action: February 7, 2017
  Place of action: Premises at Nantun District and 18 Cheng Lane and surrounding area
  Acted by: Kenny Wang
  Basis of action: Search warrant ShengSouZi No. 372 of 2017 issued by Taichung District Court,
  Taiwan
  Item       Item no. of    Name of seized item         Quantity Remark
  no. of     Confiscated-
  seized     Property
  record     Storage
     F-1           2        Laptop computer              1 unit   1. After reviewing, the
                            (including cable)                          Investigation Bureau copied
                                                                       the electronic records in the
                                                                       laptop computer as Item 48 in
                                                                       the Confiscated-Property
                                                                       Storage under USBㄨ106030-
                                                                       25-10ㄨ.
                                                                  2. After review on 13 February
                                                                       2017, witness Yi-Ling Chen
                                                                       confirmed that the
                                                                       electromagnetic records
                                                                       stored in the path below are
                                                  17

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                                                                         MTI’s trade secrets:



  Table 3
  Date of action: February 7, 2017
  Place of action: Premises at 9 of 11th floor, No. 201 Section 1, Wenxin South 5th Road, Nantun
  District, Taichung and surrounding area
  Subject of action: Kenny Wang
  Basis of action: Search warrant ShengSouZi No. 372 of 2017 issued by Taichung District Court,
  Taiwan
  Item no. Item no. of       Name of seized item               Quantity Remark
  of          Confiscated-
  seized      Property
  record      Storage
     D-1            1        USB                                1 unit    1. After reviewing, the
                                                                             Investigation Bureau
                                                                             copied the electronic
                                                                             records in the USB as
                                                                             Item 48 in the
                                                                             Confiscated-Property
                                                                             Storage under USBㄨ
                                                                             106030-25-06ㄨ.
                                                                          2. After review on 13
                                                                             February 2017, witness
                                                                             Yi-Ling Chen confirmed
                                                                             that the electronic records
                                                                             stored in the path below
                                                                             are MTI’s trade secrets:




 (continued)

    D-2          4       USB                                 1 unit    After reviewing, the
                                                                       Investigation Bureau copied the
                                                                       electronic records in the seized
                                                                       item as Item 48 in the
                                                                       Confiscated-Property Storage
                                                                       under USBㄨ106030-25-07ㄨ.
    D-3          5       USB                                 1 unit    After reviewing, the
                                                                       Investigation Bureau copied the
                                                                       electronic records in the seized
                                                                       item as Item 48 in the
                                                                       Confiscated-Property Storage
                                                   18

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                                                                     under USBㄨ106030-25-08ㄨ.
    D-4         6       Acer laptop computer                1 set    1. After reviewing, the
                        (including cable)                                Investigation Bureau
                                                                         copied the electronic
                                                                         records in the seized item
                                                                         as Item 48 in the
                                                                         Confiscated-Property
                                                                         Storage under USBㄨ
                                                                         106030-25-09ㄨ.
                                                                     2. After review on 13
                                                                         February 2017, witness Yi-
                                                                         Ling Chen confirmed that
                                                                         the electronic records
                                                                         stored in the path below
                                                                         are MTI’s trade secrets:




    D-5         7       Employment Agreement               1 copy
    D-6         8       Passbook (Bank SinoPac             1 copy
                        Hsinchu branch, account
                        number: 018004001551741,
                        name of account holder: Kenny
                        Wang)


  Table 4
  Date of action: February 7, 2017
  Place of action: Limited to premises which are Kenny Wang’s personal apartment on 1-9/F Nos. 428
  and 430 Longmujing Road, Shanhua District, Tainan City
  Subject of action: Kenny Wang
  Basis of action: Search warrant Sheng Sou Zi No. 372 of 2017 issued by Taichung District Court,
  Taiwan
  Item no. Item no. of       Name of seized item            Quantity Remark
  of          Confiscated-
  seized      Property
  record      Storage
  C-1-1 to          9        Information about Kenny        3 copies After review in the course of
    C-1-3                    Wang                                      being interviewed by the
                                                                       investigator, witnesses Yi-
                                                                       Ling Chen and Lucient Jan
                                                                       confirmed that document C-
                                                                       1-2 (Title: Peripheral Design
                                                                       Rules for DR25nm)
                                                                       comprises MTI’s trade
                                                                       secrets.
     C-2           10        USB                             1 unit    After reviewing, the
                                                                       Investigation Bureau found
                                                                       that the USB could not be
                                                                       read due to damage, so no
                                                                       related information is
                                                                       available.

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  Table 5
  Date of action: February 7, 2017
  Place of action: No. 57 Nanke 3rd Road, Xinshi District, Tainan City and surrounding area (Kenny
  Wang’s product manager office in UMC’s Second Factory Area of Fab 12A)
  Subject of action: Kenny Wang
  Basis of action: Search warrant Sheng Sou Zi No. 375 of 2017 issued by Taichung District Court,
  Taiwan
  Item no. Item no. of       Name of seized item             Quantity Remark
  of          Confiscated-
  seized      Property
  record      Storage
     A-1           11        Organization Chart of PM2         1 sheet
    A-2-1          12        Documents                        3 copies 1. After review in the
    A-2-2                                                                    course of interviewed by
    A-2-3                                                                    the investigator, witness
                                                                             Yi-Ling Chen confirmed
                                                                             that they are not MMT’s
                                                                             documents.
                                                                         2. After reviewing
                                                                             document A-2-2 in the
                                                                             course of being
                                                                             interviewed by the
                                                                             investigator on 16
                                                                             February 2017, witness
                                                                             Lucient Jan confirmed
                                                                             that the parameters
                                                                             contained in the
                                                                             documents bear
                                                                             similarities to the
                                                                             parameters contained in
                                                                             document C-1-2.
     A-3           13        UMC personnel data card           1 copy
     A-4           14        Kenny Wang’s notebook             1 copy    After review, witness Yi-Ling
                                                                         Chen confirmed that they
                                                                         contain no trade secrets of
                                                                         MMT.
     A-5           15        Handwritten notes                 1 copy    After review, witness Yi-Ling
                                                                         Chen confirmed that they
                                                                         contain no trade secrets of
                                                                         MMT.
 (continued)
    A-6         16      Kenny Wang’s mobile phone             1       1.   The Investigation Bureau’s
                        (No.: 0911-834291)                                 report of review is
                                                                           included as Item 48 in the
                                                                           Confiscated-Property
                                                                           Storage under USBㄨ
                                                                           106030-25-01ㄨ.
                                                                      2.   Kenny Wang confessed
                                                                           that it contains MMT’s
                                                                           information.
                                                  20

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    A-7         17      Kenny Wang’s mobile phone             1       After reviewing, the
                        (No.: 0965702303)                             Investigation Bureau included
                                                                      the electronic records as Item
                                                                      48 in the Confiscated-Property
                                                                      Storage under USBㄨ106030-
                                                                      25-02ㄨ.

    A-8         18      The office-use laptop computer        1       1.   After reviewing, the
                        (including cable) distributed by                   Investigation Bureau
                        United Microelectronics                            included the electronic
                        Corporation to Kenny Wang                          records as Item 48 in the
                                                                           Confiscated-Property
                                                                           Storage under USBㄨ
                                                                           106030-25-03ㄨ.
                                                                      2.   After review on February
                                                                           13, 2017, witness Yi-Ling
                                                                           Chen confirmed that the
                                                                           path below contains MTI’s
                                                                           trade secrets:




    A-9         19      USB                                   1       After reviewing, the
                                                                      Investigation Bureau included
                                                                      the electronic records as Item
                                                                      48 in the Confiscated-Property
                                                                      Storage under USBㄨ106030-
                                                                      25-04ㄨ.



  Table 6
  Date of action: February 9, 2017
  Place of action: Third investigation court of Taiwan Taichung District Prosecutors Office
  Subject of action: Shu-Han Huang
  Basis of action: Article 133(3) of the Criminal Code
  Item no. Item no. of        Name of seized item            Quantity Remark
  of          Confiscated-
  seized      Property
  record      Storage
      1            34         Laptop computer of the HP        1 unit     Owned by UMC. After
                              brand (UMC label:                           reviewing, the Investigation
                              UMC030761)                                  Bureau copied the electronic
                                                                          records as Item 48 in the
                                                                          Confiscated-Property Storage
                                                                          under USBㄨ106030-25-12
                                                                          ㄨ.
 (continued)
     2          20      USB (Silver PNY128GB)               1 unit    1.   Owned by Kenny Wang.
                                                                           After reviewing, the
                                                                           Investigation Bureau
                                                                           copied the electronic
                                                  21

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                                                            records as Item 48 in the
                                                            Confiscated-Property
                                                            Storage under USBㄨ
                                                            106030-25-13ㄨ.
                                                       2. After review in the course
                                                            of being interviewed by
                                                            the investigator, witness
                                                            Yi-Ling Chen confirmed
                                                            that they contain electronic
                                                            records of trade secrets of
                                                            MTI.
             36   USB (Kingston brand)        1 unit   1. Owned by Kenny Wang.
                                                            After reviewing, the
                                                            Investigation Bureau
                                                            included the electronic
                                                            records as Item 48 in the
                                                            Confiscated-Property
                                                            Storage under USBㄨ
                                                            106030-25-14ㄨ.
                                                       2. After review in the course
                                                            of being interviewed by
                                                            the investigator, witness
                                                            Yi-Ling Chen confirmed
                                                            that they contain electronic
                                                            records of trade secrets of
                                                            MTI.
    3        21   Paper materials             1 copy   Owned by Kenny Wang, with
                                                       sticker depicting no. 1 on the
                                                       paper.
             22   Paper document              1 copy   Owned by Kenny Wang, with
                                                       sticker depicting no. 9 on the
                                                       paper. After review in the
                                                       course of interviewed by the
                                                       investigator, witness Yi-Ling
                                                       Chen confirmed that they are
                                                       trade secrets of MTI.
             35   Paper document                13     1. Owned by Kenny Wang,
                                              copies        with stickers depicting nos.
                                                            2, 3, 4, 5, 6, 7, 8, 10, 11,
                                                            12, 13, 14, 15 on the paper.
                                                       2. Paper documents
                                                            numbered 2, 3, 4, 5, 6, 7,
                                                            8, 10, 11, 12, 13, 1 and
                                                            ELPIDA ECD-DPB-1111
                                                            and ECD-DPB-1076 in
                                                            archive numbered 15.
                                                            After review in the course
                                                            of being interviewed by
                                                            the investigator, Yi-Ling
                                                            Chen confirmed that they
                                                            are trade secrets of MTI.
    4        23   Laptop computer             1 unit   Owned by Kenny Wang.
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     5          37      Operation plan of Elpida –          1 copy
                        RGM Houli Technology R&D
                        Center


  Table 7
  Date of action: February 8, 2017
  Place of action: Room 657 No. 63 Dashun 6th Road., Xinshi District, Tainan City
  Subject of action: JT Ho
  Basis of action: Article 133(3) of the Criminal Code
  Item no. Item no. of        Name of seized item         Quantity Remark
  of          Confiscated-
  seized      Property
  record      Storage
      1            25         USB                           1 unit     1. After reviewing, the
                                                                           Investigation Bureau
                                                                           included the electronic
                                                                           records as Item 48 in the
                                                                           Confiscated-Property
                                                                           Storage under USBㄨ
                                                                           106030-25-11ㄨ.
                                                                       2. After review in the
                                                                           course of being
                                                                           interviewed by the
                                                                           investigator, witness Yi-
                                                                           Ling Chen confirmed that
                                                                           they contain electronic
                                                                           records of trade secrets of
                                                                           MTI.


  Table 8
  Date of action: February 14, 2017
  Place of action: No. 57 Nanke 3rd Road, Xinshi District, Tainan City (Kenny Wang’s personal office
  in PM2 of New Business Development Center in UMC’s Second Factory Area of Fab 12A)
  Subject of action: JT Ho
  Basis of action: Search warrant Sheng Sou Zi No. 421 of 2017 issued by Taichung District Court,
  Taiwan
  Item no. Item no. of      Name of seized item               Quantity Remark
  of          Confiscated-
  seized      Property
  record      Storage
   2B-1-1          26       Notebook of JT Ho                 4 copies
  to 2B-1-
      4
    2B-2           27       MMT letters                        1 copy
    2B-3           28       Employment Agreement               1 copy
    2B-4           29       Mobile phone of JT Ho (Nos:         1 unit   After reviewing, the
                            0910411131, 0965280938)                      Investigation Bureau
                                                                         included the electronic
                                                                         records as Item 48 in the
                                                                         Confiscated-Property Storage
                                                                         under USBㄨ106030-25-15
                                                                         ㄨ.
    2B-5           30       Miscellaneous record of JT         1 sheet
                            Ho
    2B-6           31       Laptop computer of JT Ho            1 unit   After reviewing, the
                                                  23

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                            (Asus brand)                                Investigation Bureau
                                                                        included the electronic
                                                                        records as Item 48 in the
                                                                        Confiscated-Property Storage
                                                                        under USBㄨ106030-25-16
                                                                        ㄨ.
   2B-7           32        Contact information              2 sheets
   2B-8           33        USB of JT Ho                      1 unit    After reviewing, the
                                                                        Investigation Bureau
                                                                        included the electronic
                                                                        records as Item 48 in the
                                                                        Confiscated-Property Storage
                                                                        under USBㄨ106030-25-17
                                                                        ㄨ.


  Table 9
  Date of action: February 14, 2017
  Place of action: No. 57 Nanke 3rd Road, Xinshi District, Tainan City (Leh-Tian Rong’s personal
  office in PM2 of New Business Development Center in UMC’s Second Factory Area of Fab 12A)
  Subject of action: Leh-Tian Rong
  Basis of action: Search warrant Sheng Sou Zi No. 416 of 2017 issued by Taichung District Court,
  Taiwan
  Item no. Item no. of      Name of seized item               Quantity Remark
  of          Confiscated-
  seized      Property
  record      Storage
   2A-1-1          39       iPhone handset                     1 unit    After reviewing, the
                                                                         Investigation Bureau
                                                                         included the electronic
                                                                         records as Item 48 in the
                                                                         Confiscated-Property Storage
                                                                         under USBㄨ106030-25-18
                                                                         ㄨ.
   2A-1-2          40       iPhone handset                     1 unit    After reviewing, the
                                                                         Investigation Bureau
                                                                         included the electronic
                                                                         records as Item 48 in the
                                                                         Confiscated-Property Storage
                                                                         under USBㄨ106030-25-19
                                                                         ㄨ.
    2A-2           41       USB                                1 unit    After reviewing, the
                                                                         Investigation Bureau
                                                                         included the electronic
                                                                         records as Item 48 in the
                                                                         Confiscated-Property Storage
                                                                         under USBㄨ106030-25-20
                                                                         ㄨ.
    2A-3           42       USB                                1 unit    After reviewing, the
                                                                         Investigation Bureau
                                                                         included the electronic
                                                                         records as Item 48 in the
                                                                         Confiscated-Property Storage
                                                                         under USBㄨ106030-25-21
                                                                         ㄨ.
    2A-4           43       USB                                1 unit    After reviewing, the

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                                                                        Investigation Bureau
                                                                        included the electronic
                                                                        records as Item 48 in the
                                                                        Confiscated-Property Storage
                                                                        under USBㄨ106030-25-22
                                                                        ㄨ.
  2A-5-1          44        Notebooks                       2 copies
  2A-5-2
  2A-6-1          45        Documents                       2 copies


 (continued)
  2A-6-2
   2A-7                 Confidentiality Agreement          1 copy      The prosecutor considered no
                                                                       need of seizure, and instructed
                                                                       the New Taipei City
                                                                       Investigation Bureau to return
                                                                       it to Leh-Tian Rong on
                                                                       February 14, 2017.
   2A-8         46      Leh-Tian Rong’s ACER laptop         1 unit     After reviewing, the
                        computer                                       Investigation Bureau included
                                                                       the electronic records as Item
                                                                       48 in the Confiscated-Property
                                                                       Storage under USBㄨ106030-
                                                                       25-23ㄨ.
   2A-9                 Seating plan                       1 sheet     The prosecutor considered no
                                                                       need of seizure, and instructed
                                                                       the New Taipei City
                                                                       Investigation Bureau to return
                                                                       it to Leh-Tian Rong on
                                                                       February 14, 2017.
   2A-10        47      Leh-Tian Rong’s USB which           1 unit     1. After reviewing, the
                        contains business information                        Investigation Bureau
                                                                             included the electronic
                                                                             records as Item 48 in the
                                                                             Confiscated-Property
                                                                             Storage under USBㄨ
                                                                             106030-25-24ㄨ.
                                                                       2. The prosecutor considered
                                                                             no need of seizure after the
                                                                             inspection, and returned it
                                                                             to Leh-Tian Rong on April
                                                                             25, 2017 in the form of
                                                                             disposal order


  Table 10
  Date of action: February 14, 2017
  Place of action: 5 of 8th floor, No. 6 Dashun 3rd Road 112, Xinshi District, Tainan City
  Subject of action: Leh-Tian Rong
  Basis of action: Search conducted pursuant to Article 131-1 of the Criminal Code with consent of
  the target of search
  Item no. Item no. of         Name of seized item            Quantity Remark

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  of        Confiscated-
  seized    Property
  record    Storage
     2C          38        HTC handset                   1 unit    After reviewing, the
                                                                   Investigation Bureau included
                                                                   the electronic records as Item
                                                                   48 in the Confiscated-
                                                                   Property Storage under USB
                                                                   ㄨ10603-25-25ㄨ.




  Table 11
  USB provided by MJIB
  Item no. of seized  Name of seized item             Quantity    Remark
  record
           24         USB (Black 64GB)                 1 unit     1.   These are information
                                                                       obtained from Kenny
                                                                       Wang’s Google Drive
                                                                       account during his
                                                                       interrogation by the
                                                                       Investigation Bureau of
                                                                       New Taipei City on
                                                                       February 14, 2017.
                                                                  2. After review in the course
                                                                       of interview by the
                                                                       investigator, Lucient Jan
                                                                       confirmed that the GDS
                                                                       file in the Google Drive
                                                                       bears similarities to MTI’s
                                                                       Design Rules of 25nm
                                                                       DRAM products.
                                                                  3. The file in the USB has
                                                                       been copied as Item 48 in
                                                                       the Confiscated-Property
                                                                       Storage under USBㄨ
                                                                       106030-25-26ㄨ.
           48         USB (ITB Black)                  1 unit     It contains the electronic
                                                                  records to be reviewed by
                                                                  MJIB for the case 106030.


  Table 12
  Complainant        Agents                                                     Accused
  Micron Memory      Lawyer Jeanne Wang                                         Kenny Wang
  Taiwan Co., Ltd    Lawyer Lin Liang Rong (terminated on 2 September 2016)     JT Ho
                     Lawyer Max Lee                                             UMC
                     Lawyer Chen Xi Xian
  Micron             Lawyer Jeanne Wang
  Technology, Inc.   Lawyer Lin Liang Rong (terminated on September 2,

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                    2016)
                    Lawyer Peng Jian Ren




  Table 13
  Complainant       Agents                                                Accused
  UMC               Lawyer Che-Hung Chen                                  Kenny Wang
                    Lawyer Jia-Kun Liu (terminated on June 19, 2017)
                    Lawyer En-Xu Huang


 Laws violated:
 Article 13-1 of the Trade Secrets Act
 Anyone who has one of the following circumstances done with the intent to obtain
 illegal gains for oneself or third persons, or damage interests of trade-secret owners
 shall be liable to imprisonment or detention of no more than 5 years and a fine more
 than TWD1 million but less than TWD 10 million for:
 1. Obtaining trade secrets by stealing, infringement, fraud, threat or unauthorized
    copying or other illegal means or using and disclosing the same after obtaining them.
 2. Copying, using, or disclosing known trade secrets or possessing trade secrets
    without authorization or beyond the scope of authorization.
 3. Failure to delete, destroy or conceal trade secrets after being instructed by the trade-
    secret owners to have them deleted or destroyed.
 4. Obtaining, using, or disclosing trade secrets from another person knowing that the
    person knows or possesses the trade secrets from the above three circumstances.


 Any attempt of the above shall be subject to penalty.


 For fines, if the perpetrator obtains gains which exceed the maximum amount of fine,
 discretion should be exercised to increase the fine to an amount not greater than three
 times the gains obtained.


 Article 13-2 of the Trade Secrets Act
 Anyone who attempt to use trade secrets in foreign countries, Mainland China, Hong
 Kong or Macau in violation of one of the said crimes of Paragraph (1) of the
 preceding Article shall be liable to imprisonment of more than one year but less than
 10 years and a fine above TWD3 million but less than TWD 50 million.


 Any attempt of the above shall be subject to penalty.


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 For fines, if the perpetrator obtains gains which exceed the maximum amount of the
 fine, discretion should be exercised to increase the fine to an amount not greater than
 two to ten times the gains obtained.


 Article 13-4 of the Trade Secrets Act
 If a representative of a legal entity, or an agent of a legal entity or a natural person, an
 employee or other contractors violate Article 13-1 or 12-2 for purposes of conducting
 business, besides punishing the perpetrator pursuant to the related Article, the legal
 entity or natural person shall also be subject to a fine unless the representative of the
 legal entity or natural person has done their utmost to stop the perpetrator’s act.


 Article 91 of the Copyright Act
 Anyone who infringes IP rights of others by unauthorized copying of a work shall be
 liable to imprisonment or detention of less than 3 years and optional or compulsory fine
 of no more than TWD750,000.

 Anyone who infringes upon IP rights of others by copying the work unauthorized with
 an intent to sell or lease the same shall be liable to imprisonment of more than 6 months
 but less than 5 years and optional or compulsory fine of no more than TWD200,000 but
 less than TWD2 million.


 Anyone who commits the said crime by copying the data on CDs shall be liable to
 imprisonment of more than 6 months but less than 5 years and compulsory fine of more
 than TWD500,000 but less than TWD5 million.


 Personal reference or reasonable use of the works shall not constitute infringement upon
 copyrights.




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